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 6
 7   Attorneys for Defendant
     NewGen Administrative Services, LLC
 8
 9                       UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11
     S&F MANAGEMENT COMPANY, LLC,                       Case No. 2:24-cv-2095-AB-DFM
12
13                    Plaintiff,                       NOTICE OF INTERESTED
                                                       PARTIES OF DEFENDANT
14                                                     NEWGEN ADMINISTRATIVE
          v.                                           SERVICES, LLC
15
     NEWGEN ADMINISTRATIVE                             Complaint Filed: March 14, 2024
16
     SERVICES, LLC
17                 Defendant.
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                NOTICE OF INTERESTED PARTIES OF NEWGEN ADMINISTRATIVE SERVICES, LLC
                                   CASE NO. 2:24-CV-2095-AB-DFM
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 1         Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 7.1-1,
 2 Defendant Newgen Administrative Services, LLC (“NewGen”) hereby submits this
 3 Notice of Interested Parties.
 4         The undersigned, counsel of record for NewGen, certifies that the following
 5 listed persons, associations of persons, firms, partnerships, corporations (including
 6 parent corporations) or other entities may have a pecuniary interest in the outcome
 7 of this case:
 8         1. S&F Management Company, LLC;
 9         2. NewGen Administrative Services, LLC;
10         3. The Official Committee of Unsecured Creditors (the “OCC”) and its
11            professionals at Province (collectively with the OCC, the “Committee”),
12            as identified in the bankruptcy matter of In re Windsor Terrace
13            Healthcare, LLC at al., United Stated Bankruptcy Court for the Central
14            District of California (San Fernando Division), Lead Case No. 1:23-bk-
15            11200-VK; and
16         4. The “Windsor Entities” as identified in Plaintiff’s Complaint at Paragraph
17            20, as follows:
18                 a. S&F Home Health Opco I, LLC;
19                 b. S&F Hospice Opco I, LLC;
20                 c. S&F Market Street Healthcare, LLC;
21                 d. Windsor Care Center National City, Inc.;
22                 e. Windsor Cheviot Hills, LLC;
23                 f. Windsor Country Drive Care Center, LLC;
24                 g. Windsor Court Assisted Living, LLC;
25                 h. Windsor Cypress Gardens Healthcare, LLC;
26                 i. Windsor El Camino Care Center, LLC;
27                 j. Windsor Elk Grove and Rehabilitation, LLC;
28                 k. Windsor Elmhaven Care Center, LLC;

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                   NOTICE OF INTERESTED PARTIES OF NEWGEN ADMINISTRATIVE SERVICES, LLC
                                      CASE NO. 2:24-CV-2095-AB-DFM
Case 2:24-cv-02095-AB-DFM Document 19 Filed 04/04/24 Page 3 of 4 Page ID #:199


 1               l. Windsor Gardens Convalescent Hospital, Inc.;
 2               m. Windsor Hampton Care Center, LLC;
 3               n. Windsor Hayward Estates, LLC;
 4               o. Windsor Monterey Care Center, LLC;
 5               p. Windsor Rosewood Care Center, LLC;
 6               q. Windsor Sacramento Estates, LLC;
 7               r. Windsor Skyline Care Center, LLC;
 8               s. Windsor Terrace Healthcare, LLC;
 9               t. Windsor The Ridge Rehabilitation Center, LLC; and
10               u. Windsor Vallejo Care Center, LLC.
11         These representations are made to enable this Court to evaluate possible
12 disqualifications or recusal.
13
14   Dated: April 4, 2024                      Respectfully submitted,
15
16                                                  ORSUS GATE LLP
                                                    Denis Shmidt
17                                                  Nabil Bisharat
18
                                               By: /s/ Nabil Bisharat
19                                                 Nabil Bisharat
20                                                 Attorneys for Defendant
                                                   NewGen Administrative Services, LLC
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                  NOTICE OF INTERESTED PARTIES OF NEWGEN ADMINISTRATIVE SERVICES, LLC
                                     CASE NO. 2:24-CV-2095-AB-DFM
                       Case 2:24-cv-02095-AB-DFM Document 19 Filed 04/04/24 Page 4 of 4 Page ID #:200


                           1                         CERTIFICATION OF SERVICE
                           2        The undersigned hereby certifies that on April 4, 2024, all counsel of record
                           3 who are deemed to have consented to electronic service are being served with a
                           4 copy of this document via the Court’s CM/ECF system.
                           5
                                                                        By: /s/ Nabil Bisharat
                           6                                                Nabil Bisharat
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    ORSUS GATE LLP
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                                                              CERTIFICATION OF SERVICE
LIT IGA TIO N BOU TIQ UE                                   CASE NO. 2:24-CV-02095-AB-DFM
